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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ARCHER AND WHITE SALES, INC.

               Plaintiff,                                 Civil Action No. 2:12-CV-00572-
                                                          JRG
        v.

HENRY SCHEIN, INC., DANAHER
CORPORATION, INSTRUMENTARIUM
DENTAL, INC., DENTAL EQUIPMENT,
LLC, KAVO DENTAL TECHNOLOGIES,
LLC, AND DENTAL IMAGING
TECHNOLOGIES CORPORATION,

               Defendants.


 NOTICE REGARDING PLAINTIFF ARCHER & WHITE SALES, INC.’S MOTION TO
                   SET DOCKET CONTROL ORDER

        Plaintiff Archer & White Sales, Inc. hereby files this notice to inform the Court that

Archer will not be filing a reply in support of its Motion to Set a Docket Control Order (Dkt. No.

410). Accordingly, the Motion to Set a Docket Control Order is fully briefed and ripe for

decision.  

Dated: March 22, 2019.                              MCKOOL SMITH, P.C.

                                                    /s/ Samuel F. Baxter
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                                         ARCHER AND WHITE SALES, INC.
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via ECF on March 22, 2019.

                                                  /s/ Samuel F. Baxter
                                                  Samuel F. Baxter
